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 United States District Court
 Eastern District of New York                          1:19-cv-03543-RPK-RER

 Christopher Derchin, individually and on
 behalf of all others similarly situated,
                            Plaintiff,

                  - against -

 Unilever United States, Inc.,
                            Defendant




                         Plaintiff’s Memorandum of Law in Opposition
                 to Defendant’s Motion to Dismiss the First Amended Complaint




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                                             Introduction

        Plaintiffs submit this memorandum of law in opposition to Defendant’s Memorandum of

 Law in Opposition (“Mem.”) to Plaintiff’s First Amended Complaint (“FAC”) (ECF No. 25).

                                              Argument

 I.     Legal Standard

        In evaluating a motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(6), the “issue is not

 whether a plaintiff is likely to prevail ultimately, ‘but whether the claimant is entitled to offer

 evidence to support the claims. Indeed, it may appear on the face of the pleading that a recovery

 is very remote and unlikely but that is not the test.’” Gant v. Wallingford Bd. of Educ., 69 F.3d

 669, 673 (2d Cir. 1995) (quoting Weisman v. LeLandais, 532 F.2d 308, 311 (2d Cir. 1976)).

      A.      Factual Allegations Should Be Accepted as True

        A court “must accept all factual allegations in the complaint as true and draw all reasonable

 inferences in the plaintiff’s favor.” Hanley v. Chicago Title Ins. Co., No. 12-cv-4418, 2013 WL

 3192174, at *2 (S.D.N.Y. June 24, 2013) (citing Famous Horse Inc. v. 5th Ave. Photo Inc., 624

 F.3d 106, 108 (2d Cir. 2010).

        To survive a motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6), “a

 complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is

 plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (“Iqbal”). “Rule 12(b)(6) does

 not countenance . . . dismissals based on a judge’s disbelief of a complaint’s factual allegations.”

 Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556 (2007) (citations omitted). “[A] well-pleaded

 complaint may proceed even if it strikes a savvy judge that actual proof of those facts is

 improbable, and ‘that a recovery is very remote and unlikely.’” Id. “A claim has facial plausibility

 when the plaintiff pleads factual content that allows the court to draw the reasonable inference that

 the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at 678.
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       B.      Plaintiff Has Shown that it Is Plausible a Reasonable Consumer Would Be Misled

         A plaintiff needs only assert factual allegations sufficient “to raise a right to relief above

 the speculative level.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007). Plaintiff’s claim

 to relief must be “plausible on its face,” Id. at 570, and a complaint fails if it merely “tenders

 ‘naked assertion[s]’ devoid of ‘further factual enhancement.’” Iqbal, 129 S. Ct. at 1949 (quoting

 Twombly, 550 U.S. at 557.

         However, “[t]he plausibility standard [on a motion to dismiss] is not akin to a probability

 requirement." Iqbal, 556 U.S. at 559 129 S. Ct. at 1937. Plaintiff need only “nudge” their

 allegations “across the line from conceivable to plausible.” Twombly, 550 U.S. at 548; Williams v.

 Calderoni, 2012 U.S. Dist. LEXIS 28723, at *20 (S.D.N.Y. Mar. 1, 2012) (in evaluating a

 complaint under a Rule 12(b)(6) standard, the Court need not accept “implausible allegations or

 legal conclusions expressed as facts”), aff’d, Williams v. Schwartz, 529 F. App'x 89 (2d Cir. 2013).

 II.     Plaintiff Properly Pled GBL Claims

         “To successfully assert a claim under either section of the GBL, ‘a plaintiff must allege

 that a defendant has engaged in (1) consumer-oriented conduct that is (2) materially misleading

 and that (3) plaintiff suffered injury as a result of the allegedly deceptive act or practice.’” Orlander

 v. Staples, Inc., 802 F.3d 289, 300 (2d Cir. 2015). Thus, to prevail on their claims, Plaintiff need

 only provide proof of a deceptive act or practice and not “proof that a statement is false.” Boule v.

 Hutton, 328 F.3d 84, 93 (2d Cir. 2003); see also People ex rel. Spitzer v. Gen. Elec. Co., 756

 N.Y.S.2d 520, 523 (App. Div. 2003) (explaining that “literal truth is not an availing defense” if

 the representation has the capacity “to mislead even reasonable consumers acting reasonably under

 the circumstances”). Additionally, there is no requirement that Plaintiff prove that Defendant’s

 practices or acts were intentional, fraudulent, or even reckless.



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  III.    Plaintiff’s Claims Are Not Preempted

         A.     Express Preemption is Not Applicable Because Defendant Would Not be Subject to
                Any Additional Requirements if Plaintiff Succeeds in this Action

          In 1990, Congress enacted the Nutrition Labeling and Education Act of 1990, Pub. L. No.

  101–535, 104 Stat. 2353 (the “NLEA”), which added an express preemption provision to the

  Federal Food, Drug, and Cosmetic Act (“FDCA”). 21 U.S.C. § 343-1; Jovel v. i-Health, Inc., No.

  12-cv-5614 JG, 2013 WL 5437065, at *3 (E.D.N.Y. Sept. 27, 2013).

          Under the express preemption provision, no state “may directly or indirectly establish . . .

  any requirement for a food which is the subject of a standard of identity established under [21

  U.S.C. § 341] that is not identical to such standard of identity or that is not identical to the

  requirement of [21 U.S.C. § 343(g)].” 21 U.S.C. § 343-1(a)(1). Patane v. Nestle Waters North

  America, Inc., 343 F. Supp. 3d 375, 384-85 (D. Conn. 2018) (Patane I).

          “The purpose of the NLEA . . . is not to preclude all state regulation of nutritional labeling,

  but to ‘prevent State and local governments from adopting inconsistent requirements with respect

  to the labeling of nutrients.’” Astiana v. Ben & Jerry’s Homemade, Inc., 10-cv-4387, 2011 WL

  2111796, at *8 (N.D. Cal. May 26, 2011) (emphasis added) (quoting H.R. Rep. No. 101–538, at

  10 (1990)).

          Defendant cites to Patane I and Patane v. Nestle Waters of North America, Inc., 369 F.

  Supp. 3d 382 (D. Conn. 2019) (Patane II), concluding that plaintiffs were “ultimately allowed to

  proceed in New York . . . because New York has a limited law defining ‘spring water’ as part of

  the Sanitary Code, and does so consistently with the FDCA.” Mem. at 8.

          Defendant acknowledges “[a]n exception to FDCA preemption exists if a state has enacted

  food regulations that impose identical standards as those of the FDCA.” Mem. at 7. Defendant




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  cites California’s “broad mini-FDCAs” and contends New York “has not enacted a comprehensive

  food law.” Id.

         However, New York has adopted and incorporated all federal food labeling regulations

  including standards of identity. These are located within Title 1 (“Agriculture and Markets Law”)

  of the Official Compilation of Codes, Rules and Regulations of the State of New York

  (“NYCRR”); Part 250, “Definitions and Standards.” See 1 NYCRR § 250.1(a)(17) (incorporating

  federal standards of identity for foods including vanilla products at “21 CFR part 169, containing

  the Federal definitions and standards for Food Dressings and Flavorings at pages 600-606.”).

         Standards for dairy products are in Part 17 (of 18), “Requirements for the Labeling of, and

  Definitions and Standards of Identity for, Milk, Milk Products and Frozen Desserts,” Chapter I,

  Milk Control, Subchapter A, Dairy Products. Part 17 contains thirty-two (32) sections, seven

  repealed and five renumbered. The section addressing “vanilla ice cream” is under “Additional

  standards of identity for frozen desserts,” which states:

         The standards of identity for ice cream and frozen custard, goat's milk ice cream,
         ice milk, goat's milk ice milk, mellorine, sherbet, and water ices as set forth in
         sections 135.110, 135.115, 135.120, 135.125, 135.130, 135.140 and 135.160,
         respectively, of title 21 of the Code of Federal Regulations (revised as of April 1,
         2010) are adopted and incorporated by reference herein.

         1 NYCRR § 17.19.

         Not only is there no difference between federal and state law, New York Agriculture and

  Markets Law (“AGM”) § 71-a (“Declaration of policy”) goes further:




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           It is further declared to be in the interest of the dairy industry and of the consuming
           public that there be uniformity of standards for frozen desserts as between the
           various states and the federal government to the end that there may be free
           movement of frozen desserts between the states and to the end that the inefficiency,
           needless expense, and confusion caused by differences in products sold under the
           same name, and differences in labeling of identical products may be eliminated.

           (emphasis added).

           Second, defendant has not argued that if these sections were invoked in the FAC, Plaintiff

  would adequately state a claim.

           Defendant’s argument about the listing of “vanilla extract” or “natural flavor” for an

  exclusively vanilla ingredient is interesting but not relevant to the claim of whether the Product

  contains flavors other than vanilla.1

           Plaintiff’s claims are brought pursuant to New York consumer protection law alleging

  Defendant’s Product labeling is inconsistent with federal regulations and their identical state-level

  counterparts, the NLEA does not expressly preempt the state law claim. Jovel, 2013 WL 5437065,

  at *3 (NLEA preemption clause “has been repeatedly interpreted not to preempt requirements

  imposed by state law that effectively parallel or mirror the relevant sections of the NLEA”).



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    Defendant asserts a challenge to the ingredient name is expressly preempted because “Plaintiff . . . is seeking to
  impose additional requirements, beyond and inconsistent with regulatory provisions such as 21 C.F.R. §
  101.22(h)(1).” Mem. at 12, 16 (“[L]isting ‘natural flavor’ in the ingredient statement is consistent with a product
  flavored exclusively by vanilla bean extract” citing 21 U.S.C. § 343(i)(2)). Defendant’s citation of 21 U.S.C.
  §343(i)(2) is inapposite because this section addresses foods “where no representation as to definition and standard
  of identity” is made. The labeling and designation of vanilla is controlled by 21 U.S.C. §343(g), which requires that
  a standardized food “bear[s] the name of the food specified in the definition and standard.”); See 21 C.F.R. §
  101.4(a)(1) (requiring ingredients to be listed under common or usual name); FAC ¶ 77; The common or usual name
  for the exclusively vanilla ingredients are “vanilla extract” and “vanilla flavoring.” See 21 C.F.R. § 169.175 (b)(1)
  (“The specified name of the food is ‘Vanilla extract’ or ‘Extract of vanilla’”); 21 C.F.R. § 169.177 (b) (“The
  specified name of the food is ‘Vanilla flavoring’.”). The common or usual name for defendant’s flavor ingredient
  that contains vanilla and non-vanilla flavors is “Natural Flavor.” See 21 C.F.R. § 101.4(b)(1) (“Spices, flavorings,
  colorings and chemical preservatives shall be declared according to the provisions of 101.22.”); see also 21 C.F.R. §
  101.22(h)(1) (“The label of a food to which flavor is added shall declare the flavor in the statement of ingredients in
  the following way…Spice, natural flavor, and artificial flavor may be declared as ‘spice’, ‘natural flavor’, or
  ‘artificial flavor’”). An exclusively vanilla ingredient is not designated on an ingredient list as “natural flavor”
  because if it were, the result would be conflict between 21 U.S.C. §343(g) and 21 U.S.C. § 343(i), and it must be
  presumed Congress was aware of this issue.


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         Defendant relies upon Verzani v. Costco Wholesale Corp., No. 09-cv-2117, 2010 WL

  3911499 (S.D.N.Y. Sept. 28, 2010) for the proposition that Plaintiff’s claims here are preempted

  because the “FDCA lacks a private right of action and therefore [plaintiff] cannot rely on it for the

  purposes of asserting a state law consumer claim under G.B.L. § 349.”

         This misconstrues Plaintiff’s argument. Because New York has adopted the federal

  labeling regulations, Plaintiff asserts a state claim under G.B.L. §§ 349 and 350, premised upon

  labeling regulations incorporated by New York. Defendant’s conduct is deceptive and misleading

  and would be regardless of the existence of any labeling regime.

       B.      Plaintiff’s Claims are Not Subject to Implied Preemption Because New York has
               Adopted the Identical Labeling Requirements

         To survive implied preemption, “a state law claim must rely on an independent state law

  duty that parallels or mirrors” the duty required by the FDCA. Patane I, 343 F. Supp. 3d at 386;

  21 U.S.C. § 337(a). Since New York has incorporated all of the FDCA into its state law, Plaintiff’s

  claims are not subject to implied preemption since this action doe not “solely and exclusively rely

  on violations of the FDCA’s own requirements.” Id.

       C.      Plaintiff Has Standing Under New York Law

         Defendant next avails itself of the argument that New York does not confer a private right

  of action to Plaintiff to bring suit in this case. Mem. at 9-10. This is false, but not particularly

  relevant since this action is brought under this State’s consumer protection statutes.

         New York’s Agriculture and Markets Law confers a right of action upon an ultimate

  purchaser against the person who originally prepared for market and sold the containers with false

  labels or statements of their contents. See Warner v. StarKist Co., 2019 WL 1332573, No. 18-cv-

  406 (N.D.N.Y. May 25, 2019) (quoting Abounader v. Strohmeyer & Arpe Co., 243 N.Y. 458, 463

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         Where vanilla ice cream contains added vanillin, it becomes misleading to label it “vanilla

  ice cream” because vanillin has always been considered artificial when compared with real vanilla.

  FAC ¶ 90; see also Exhibit C, Letter from Summers to Daugherty, Zink & Triest Company, Inc.

  April 10, 1979 (“A product identified as ‘Vanilla Ice Cream’ is subject to the category I ice cream

  requirements and, therefore, must contain only the characterizing flavor from vanilla beans).

         The FAC quotes Carol McBride,                                                       who states

  clearly: “If the flavor comes partially or fully from another source, the company must stamp

  ‘vanilla flavored’ or ‘artificial vanilla’ on the front of the package, a likely turnoff to consumers.”

  FAC ¶ 55.8

         Defendant’s use of vanillin with vanilla requires the Product be labeled “artificially

  flavored” to alert consumers to the quality of the product they will be purchasing. See Koenig v.

  Boulder Brands, Inc., 995 F. Supp. 2d 274, 287-88 (S.D.N.Y. 2014) (distinguishing Verzani where

  a reasonable consumer might focus on the most prominent portion of a product label that is

  potentially deceptive to a reasonable consumer).

       C.      Defendant’s Discovery Documents Confirm the Product Should be Labeled
               “Artificially Flavored”

         Based on the calculations of vanillin to vanilla used, “the amount of vanillin used is greater

  than 1 ounce per unit of vanilla constituent,” which means the “artificial flavor simulating the

  characterizing flavor shall be deemed to predominate.” FAC ¶ 68 citing 21 C.F.R.

  §135.110(f)(5)(i) and Exhibit B, Letter, R.E. Newberry to Daniel P. Thompson, October 30, 1979

  (describing such a product as “category III and have to be labeled as ‘artificial vanilla.’”).




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  been “amended or revoked,” which means they “may be used in administrative or court

  proceedings to illustrate acceptable and unacceptable procedures or standards.” 21 C.F.R. §

  10.85(g); 21 C.F.R. § 10.85(j).

         Defendant argues it is implausible and without a “basis in law, regulation, modern food

  formulation techniques, or common sense” “that a product labeled as “vanilla ice cream” “must be

  exclusively flavored with vanilla extract.” Mem. at 14, 16.

         Yet the FAC provides significant support for this position. FAC ¶ 68 citing Exhibit B,

  Letter from R.E. Newberry, Assistant to the Director, Division of Regulatory Guidance, Bureau of

  Foods, to Daniel P. Thompson, October 30, 1979 (“Newberry Letter, October 30, 1979”) (a non-

  vanilla flavor “is deemed to simulate [resemble or reinforce] vanilla if the addition of the non-

  vanilla flavor results in a reduction in the amount of vanilla bean derived flavor that would

  otherwise be used in a vanilla flavored ice cream”).

         The non-vanilla flavors provide flavor notes typically associated with vanilla, allowing the

  Product to use less real vanilla. FAC ¶ 68, Exhibit B, Letter from Newberry to Thompson, October

  30, 1979 (“[N]on vanilla flavor is deemed to simulate vanilla if the addition of the non-vanilla

  flavor results in a reduction in the amount of vanilla bean derived flavor that would otherwise be

  used in a vanilla flavored ice cream.”).

  V.     Defendant’s Attempts to Speak for Reasonable Consumers Conflicts with the
         Opinions of Congress, the FDA, Industry Experts and Consumers

         According to defendant, the FAC’s “technical” allegations are irrelevant to a “reasonable

  consumer.” Mem. at 1 (“A reasonable consumer would not perceive the misleading messages

  alleged by Plaintiffs to be communicated about the products, and the remedies suggested by

  Plaintiffs would make no difference in a reasonable consumer’s interpretation of the packaging.”).




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          This stance ignores the FAC’s allegations citing precedent and industry guidance on an

  issue where preventing consumer deception was the Agency’s purpose. Defendant’s labeling is

  misleading not because of a “per se” violation, but because “vanilla,” without qualification, gives

  consumers the impression that more vanilla was used than is present. See Izquierdo v. Panera

  Bread Co., No. 18-cv-12127 (S.D.N.Y. Mar. 30, 2020) (“It is materially misleading to suggest a

  product contains a greater proportion of a preferred ingredient than it actually does, even where

  there is a visible ingredients list that states the correct composition of the food.”).

          What defendant considers a “technical violation” based on FDA regulations is inconsistent

  with the decision in Quiroz v. Beaverton Foods, Inc., No. 17-cv-7348 (E.D.N.Y. 2019). In that

  case, the plaintiff contended that the defendant’s mustard, marketed as containing “no

  preservatives,” contained citric acid. Though plaintiff relied on the regulatory definition of a

  preservative, the court agreed that the claim was “not premised on a violation of federal labeling

  requirements” but instead “based on the contention that the label ‘no preservatives’ is misleading

  because the product does in fact contain preservatives.” Id.

          The regulations relied upon by Plaintiff are the best touchstone available to define

  deceptive behavior. Labeling the Product “vanilla ice cream” when it contains artificial vanilla

  flavors is an inherently deceptive act that would be deceptive “regardless of the existence of the

  FDCA and its implementing regulations.” Id.

          To address this issue, Defendant brings in the laws of other states and asserts, “[C]ourts

  have held that a plaintiff must not only plead actual deception, but specific reliance – not just

  reliance on the product being labeled lawfully, but reliance on the actual misleading message

  allegedly communicated by the label.” Mem. at 15.




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         Though plaintiff alleged reliance, New York does not require a plaintiff to prove they relied

  on a defendant’s deceptive practices. FAC ¶ 161; Oswego Laborers’ Local 214 Pension Fund, 647

  N.E.2d at 744–45; see also Mennen Co. v. Gillette Co., 565 F. Supp. 648, 655 (S.D.N.Y. 1983).

  Even if they did, Plaintiff here alleges that he relied upon Defendant’s representations. FAC ¶ 161.

       A.      Questions of Fact Remain Which Make Disposition of Case at Motion to Dismiss
               Stage Inappropriate

         Whether a reasonable consumer would be misled is usually a question of fact, and courts

  are reluctant to dismiss such claims on a motion to dismiss. See, e.g., Carias v. Monsanto Co., No.

  15-cv-03677, 2016 WL 6803780, at *9 (E.D.N.Y. Sept. 30, 2016) (“[T]he instant litigation may

  very well turn on discrete factual questions”); Sitt v. Nature’s Bounty, Inc., No. 15-cv-4199, 2016

  WL 5372794, at *8 (E.D.N.Y. Sept. 26, 2016) (“Usually the reasonable consumer determination

  is a question of fact”) (citations omitted) (quotations omitted); Stoltz v. Fage Dairy Processing

  Indus., S.A., No. 14-cv-03826, 2015 WL 5579872, at *4, *13–23 (E.D.N.Y. Sept. 22, 2015)

  (declining to dismiss complaint, noting “A federal trial judge, with a background and experience

  unlike that of most consumers is hardly in a position to declare that reasonable consumers would

  not be misled” (citations omitted) (quotations omitted); Silva v. Smucker Nat. Foods, Inc., No. 14-

  cv-06154, 2015 WL 5360022, at *10 (E.D.N.Y. Sept. 14, 2015) (““What a reasonable consumer’s

  interpretation of a seller’s representation might be is generally an issue of fact that is not

  appropriate for decision on a motion to dismiss.”); Paulino v. Conopco, Inc., No. 14-cv-05145,

  2015 WL 4895234, at *1, *5–6 (E.D.N.Y. Aug. 17, 2015) (“A reasonable juror could reach the

  conclusion that the label ‘Naturals’ means that the product is at least mostly comprised of natural

  ingredients”); Ackerman, 2010 WL 2925955at *6, *22–23 (court cannot conclude that a reasonable

  consumer would not be misled as a matter of law).




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         Here, Defendant makes conclusory statements about what a reasonable consumer will

  believe. Mem. at 1 (“[T]he remedies suggested by Plaintiffs would make no difference in a

  reasonable consumer’s interpretation of the packaging”); Mem. at 4 (“[I]t is implausible that

  reasonable consumers perceive any, let alone all, of these meanings from the mere designation of

  a product as ‘vanilla ice cream’”); Mem. at 15 (“There is no basis to allege that consumers receive

  any of Plaintiffs’ alleged ingredient claims from the Product’s packaging.”)

         These are all statements in which Defendant’s counsel seeks to speak for reasonable

  consumers. “What a reasonable consumer’s interpretation of a seller’s representation might be is

  generally an issue of fact that is not appropriate for decision on a motion to dismiss.” Silva, at *10.

       B.      Plaintiff’s GC-MS Analysis is Intended to “Nudge” the Claims to “Plausible”

         Defendant claims “Plaintiff’s Chromatography Analysis Is Worthless” because it lacked a

  “control” and the volatiles may be too small to detect. Mem. at 17. The “control” would be an ice

  cream sample without flavors added to it, which defendant has refused to provide. For the vanilla

  compounds, they are not extracted manually but through gas, which obviates the need to be as

  “careful” as defendant claims is necessary.

         Nevertheless, defendant has provided a partial flavor formula (albeit with large ranges),

  which corroborates the lab testing. In contrast to Zaback v. Kellogg Sales Co., No. 3:20-cv-00268,

  2020 U.S. Dist. LEXIS 109449 (S.D. Cal. June 22, 2020), where the plaintiff’s sole allegations in

  consisted of (1) “a close inspection of the ingredient list and (2) the absence of the term “vanilla

  extract,” the court dismissed the complaint with leave to amend. Zaback at *6 (internal quotations

  omitted). Zaback’s allegations were too speculative and scant to state a claim, in contrast to the

  FAC’s allegations. At the time the FAC was filed, defendant had not even provided its flavor

  formula, which admits the presence of artificial vanilla flavor and confirms the FAC’s allegations.

  FAC ¶ 92-116.
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  VI.    Plaintiff Properly Alleged Common Law Claims

        A.        Plaintiff Properly Pled Claim of Negligent Representation

         In New York, “It is well settled that a claim for negligent misrepresentation requires the

  plaintiff to demonstrate (1) the existence of a special or privity-like relationship imposing a duty

  on the defendant to impart correct information to the plaintiff; (2) that the information was

  incorrect; and (3) reasonable reliance on the information. Mandarin v. Wildenstein, 16 N.Y.3d 181,

  173 (2011) (citing J.A.O.Acquisition Corp. v. Stavitsky, 8 NY3d 144, 148 (2007)

  (internal quotations omitted).

         Defendant claims Plaintiff cannot plead negligent misrepresentation because there existed

  no special relationship and no misrepresentation. These assertions disregard facts asserted in the

  complaint as well as established law in New York State.

             A special relationship sufficient to establish a claim of negligent representation existed

  between plaintiff and defendant. A relationship is considered to approach that of privity if: “(1)

  the defendant makes a statement with the awareness that the statement was to be used for a

  particular purpose; (2) a known party or parties rely on this statement in furtherance of that

  purpose; and (3) there is some conduct by the defendant linking it to the party or parties and

  evincing [the] defendant's understanding of their reliance." Greene v. Gerber Products Co., 262

  F.Supp 3d 38, 75 (E.D.N.Y. 2017) (citing Aetna Cas. And Sur. v. Aniero Concrete Co., Inc., 404

  F.3d 566, 584 (2d Cir. 2005)).

         As to negligent misrepresentation, “because casual statements and contacts are prevalent

  in business, liability in the commercial context is imposed only on those persons who possess

  unique or specialized expertise, or who are in a special position of confidence and trust with the

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  injured party such that reliance on the negligent misrepresentation is justified.” Greene F.Supp 3d

  at 75 (internal quotation marks omitted) (citing Eternity Glob. Master Fund. Ltd. v. Morgan Guar.

  Trust Co. of N.Y., 375 F.3d 168, 188 (2d Cir. 2004). Where a plaintiff fails to allege the existence

  of a special relationship, negligent misrepresentation is still properly pled where the plaintiff

  “emphatically” alleges (1) the person making the representation held or appeared to hold unique

  or special expertise and (2) the speaker was aware of the use to which the information would be

  put and supplied it for that purpose. Id. at 75 (citing Eternity Glob., 375 F.3d at 188).

         Here, first, Plaintiff adequately alleges that Defendant held a unique or special expertise.

  FAC ¶ 210. Second, it defies logic that Defendant was not aware that consumers would rely upon

  the representations put on the front label of its ice cream products.

       B.      Plaintiff Properly Pled a Claim of Fraud

         Defendant argues that Plaintiff’s fraud allegations fail to be plead with the required

  specificity pursuant to Fed. R. Civ. P. 9(b). Mem. at 23-24. To satisfy Rule 9(b), “the complaint

  must: (1) detail the statements (or omissions) that the plaintiff contends are fraudulent, (2) identify

  the speaker, (3) state where and when the statements (or omissions) were made, and (4) explain

  why the statements (or omissions) are fraudulent.” Loreley Fin. (Jersey) No. 3 Ltd. v. Wells Fargo

  Sec., LLC, 797 F.3d 160, 171 (2d Cir. 2015). (internal quotation omitted). “Rule 9(b) requires only

  that Plaintiffs plead, with particularity, facts from which it is plausible to infer fraud; it does not

  require Plaintiffs to plead facts that make fraud more probable than other explanations.” Id. at 175.

         Plaintiff identified Defendant as the speaker of the representations. FAC ¶ 222. Plaintiff

  alleges Defendant made numerous fraudulent statements indicating that “the Products contain

  sufficient amounts of the highlighted ingredient, vanilla, to independently characterize the taste or

  flavor of the Products.” Id.



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         Plaintiff alleges Defendant made the misleading representations on the front label of their

  vanilla ice cream. FAC ¶ 1-4.

         Finally, Plaintiff explains Defendant’s labeling of their ice cream is fraudulent because

  “vanilla ice cream” means that “only natural flavor derived from the product whose flavor is

  simulated may be used.” Exhibit A, Quinn Letter, May 31, 1979; FAC ¶ 171.

         The allegations in the Complaint thus meet the “primary purpose of Rule 9(b)” which “is

  to afford defendant fair notice of the plaintiff's claim and the factual ground upon which it is

  based.” Ross v. Bolton, 904 F.2d 819, 823 (2d Cir.1990).

       C.      Plaintiff Adequately Alleged Breach of Express Warranty Claims

         “To state a claim for breach of an express warranty, “a plaintiff must allege an affirmation

  of fact or promise by the seller, the natural tendency of which was to induce the buyer to purchase

  and that the warranty was relied upon the plaintiff’s detriment” Buonasera v. Honest Co., Inc., 208

  F.Supp 3d 555, 567 (S.D.N.Y. 2016) (internal quotations omitted) (citing Ault v. J.M. Smucker

  Co., No. 13-cv-3409, 2014 WL 1998235, at *6 (S.D.N.Y. 2014). Specifically, to state a claim for

  breach of an express warranty under New York Law, a plaintiff must allege (1) the existence of a

  material statement amounting to a warranty, (2) the buyer’s reliance on this warranty as a basis for

  the contract with the immediate seller, (3) breach of the warranty, and (4) injury to the buyer caused

  by the breach. Goldemberg v. Johnson & Johnson Consumer Cos., 8 F.Supp 3d 467, 482 (S.D.N.Y.

  2014) (citing Avola v. La.-Pac. Corp., No. 11-cv-4053, 2013 WL 4647535, at *6 (E.D.N.Y. Aug.

  28, 2013). Further, “any affirmation of fact or promise made by the seller to the buyer which relates

  to the goods and becomes part of the basis of the bargain creates an express warranty.” Ault, 2014

  WL 1998235, at *6.




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          Here, Defendant contends there was no express warranty. Mem. at 22 (“Express warranties

  must be founded on express representations – that is a literal affirmation of fact or promise about

  the specific thing Plaintiff alleges to be untrue”).

          Plaintiff alleges that (1) Defendant expressly warranted that their vanilla ice cream had

  properties that it didn’t, i.e. containing exclusively vanilla extract to flavor the ice cream; (2)

  Defendant’s breached the express warranty on the label of, and/or in the advertising of their vanilla

  ice cream; (3) Defendant made such express warranty knowing the purpose for which its “vanilla

  ice cream” was to be used and advocating its use for such purpose; (4) Defendant’s claims as to

  their vanilla ice cream did not conform to the express warranty made by Defendant and (5) Plaintiff

  purchased the vanilla ice cream based up these representations. FAC ¶¶ 213-220.

          “Any affirmation of fact or promise made by the seller to the buyer which relates to the

  goods and becomes part of the basis of the bargain creates an express warranty.” Goldemberg v.

  Johnson & Johnson Consumer Comp., 8 F. Supp. 3d 467, 482 (S.D.N.Y. 2014) (quoting Avola v.

  La.-Pac. Corp., No. 11-cv-4053, 2013 WL 4647535, at *6 (E.D.N.Y. Aug. 28, 2013). In

  Goldemberg, the court held that the defendant’s motion to dismiss the claims for breach of express

  warranty must be denied where defendant advertised on their labels and marketing materials that

  their products were “Active Naturals” when the products contained mostly synthetic ingredients.

  Id. at 482-83. Compare to here where Defendant represents that its ice cream is flavored

  exclusively with vanilla, a representation which induced Plaintiff into purchasing Defendant’s

  products.

        D.      Plaintiff’s Claim of Unjust Enrichment Is Not Duplicative

          Defendant argues that the Court should dismiss Plaintiff’s unjust enrichment claim because

  it is duplicative. Mem. at 24. However, “[u]nder Rule 8(e)(2) of the Federal Rules of Civil

  Procedure, a plaintiff may plead two or more statements of a claim, even within the same count,
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  regardless of consistency.” Henry v. Daytop Vill., Inc., 42 F.3d 89, 95 (2d Cir.1994). To the extent

  that this Court finds that Plaintiff does not state claims pursuant to the GBL, fraud, negligent

  representation or breach of express warranty, the Court could hold that Plaintiff’s unjust

  enrichment claim is viable. Cummings v. FCA US LLC, 401 F. Supp. 3d 288, 316-17 (N.D.N.Y.

  2019). (“Plaintiff’s claim for unjust enrichment arises outside of the scope of the Limited Warranty

  and is consequently not barred.”). Thus, because questions of fact remain as to all of Plaintiff’s

  claims, dismissal of Plaintiff’s unjust enrichment claim at this stage is premature. Huang v. iTV

  Media, Inc., 13 F. Supp. 3d 246, 261 (E.D.N.Y. 2014) (declining to dismiss unjust enrichment

  claim as duplicative at motion to dismiss stage); Burton v. Iyogi, Inc., No. 13-cv-6926, 2015 WL

  4385665, at *11 (S.D.N.Y. Mar. 16, 2015) (denying motion to dismiss New York unjust

  enrichment claim and stating that “it is well-settled that parties may plead in the alternative”);

  Cohn v. Lionel Corp., 289 N.Y.S.2d 404, 408 (1968) (“Undeniably, a plaintiff is entitled to

  advance inconsistent theories in alleging a right to recovery.”); Winick Realty Grp. LLC v. Austin

  & Assocs., 857 N.Y.S.2d 114, 115 (1st Dep’t 2008) (“[S]ince plaintiff is entitled to plead

  inconsistent causes of action in the alternative, the quasi-contractual claims are not precluded by

  the pleading of a cause of action for breach of an oral agreement.”).

  VII.   Plaintiff Has Standing to Seek Injunctive Relief

         Plaintiff has standing to pursue injunctive relief because Plaintiff’s inability to rely on the

  Products’ labels in the future, which causes him to avoid purchasing the Products even though he

  would like to if they could trust the labels, constitutes an imminent threat of future harm sufficient

  to satisfy Article III’s injury in fact requirement. Friends of the Earth, Inc. v. Laidlaw Envtl. Servs.

  (TOC), Inc., 528 U.S. 167, 181–85 (2000). Here Plaintiff contends that he would not have bought

  the Products or would have paid less for them. FAC ¶ 145. This gives rise to the supposition that

  Plaintiff cannot rely on Defendant’s labels to convey accurate and truthful information.
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         Recently in Jackson-Mau v. Walgreen Co., 18-cv-04868, 2019 WL 5653757 (E.D.N.Y.

  Oct. 31, 2019), the court found that the plaintiff could seek injunctive relief because her complaint

  stated she would purchase the product “again if she could be sure that the bottle actually contains

  what it is supposed to contain.” Jackson-Mau, 2019 WL 5653757, at *3; see also Goldemberg v.

  Johnson & Johnson Consumer Cos., 317 F.R.D. 374, 397 (S.D.N.Y. 2016) (holding that the fact

  that “Plaintiff would continue to purchase the Products in the future if the misleading labeling is

  corrected is sufficient to demonstrate an intent to purchase products in the future that subjects them

  to future harm”).

         Similarly, in Davidson v. Kimberly-Clark Corp., the United States Court of Appeals for

  the Ninth Circuit held as follows:

         We hold that a previously deceived consumer may have standing to seek an
         injunction against false advertising or labeling, even though the consumer now
         knows or suspects that the advertising was false at the time of the original purchase,
         because the consumer may suffer an “actual and imminent, not conjectural or
         hypothetical” threat of future harm. Knowledge that the advertisement or label was
         false in the past does not equate to knowledge that it will remain false in the future.
         In some cases, the threat of future harm may be the consumer’s plausible allegations
         that she will be unable to rely on the product’s advertising or labeling in the future,
         and so will not purchase the product although she would like to.

  Davidson v. Kimberly-Clark Corp., 889 F.3d 956, 969–70 (9th Cir. 2018) (footnote omitted)

  (citation omitted).

         Furthermore, many courts have concluded that the inability to rely on the labels in the

  future, as alleged in the FAC, constitutes a threat of harm and that to hold otherwise would

  eviscerate the New York consumer protection statute. See, e.g., Belfiore v. Procter & Gamble Co.,

  94 F. Supp. 3d 440, 445 (E.D.N.Y. 2015) (“Federal courts ‘have held that plaintiffs have standing

  to seek injunctive relief based on the allegation that a product’s labeling or marketing is misleading

  to a reasonable consumer,’ because to ‘hold otherwise would effectively bar any consumer who



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  avoids the offending product from seeking injunctive relief.’” (quoting Ackerman at *2–3, *14–

  15, *15 n.23 (E.D.N.Y. July 18, 2013)).

         For all the foregoing reasons, Plaintiff has standing to seek injunctive relief.

                                              Conclusion

         For the foregoing reasons, the Court should deny Defendant’s Motion in its entirety or in

  the alternative, grant leave to amend or dismiss without prejudice.

  Date: June 29, 2020

                                                                  Respectfully submitted,

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  1:19-cv-03543-RPK-RER
  United States District Court
  Eastern District of New York


  Christopher Derchin, individually and on behalf of all others similarly situated,


                                  Plaintiff,

                 -against-



  Unilever United States, Inc.,


                                  Defendant




                           Plaintiff’s Memorandum of Law in Opposition
                   to Defendant's Motion to Dismiss the First Amended Complaint



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  Pursuant to 22 NYCRR 130-1.1, the undersigned, an attorney admitted to practice in the courts
  of New York State, certifies that, upon information, and belief, formed after an inquiry
  reasonable under the circumstances, the contentions contained in the annexed documents are not
  frivolous.

  Date: June 29, 2020

                                                               /s/Spencer Sheehan
                                                               Spencer Sheehan
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                                         Certificate of Service

  I certify that on June 29, 2020, I served and/or transmitted the foregoing by the method below to
  the persons or entities indicated, at their last known address of record (blank where not applicable).

                                      CM/ECF            First-Class         Email             Fax
                                                           Mail
   Defendant’s Counsel                    ☒                  ☐                ☐               ☐
   Plaintiffs’ Counsel                    ☒                  ☐                ☐               ☐
   Courtesy Copy to Court                 ☐                  ☐                ☐               ☐


                                                              /s/ Spencer Sheehan
